       Case: 23-10911  Document: 138-1 Page: 1 Date Filed: 03/24/2025
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                   United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
 LYLE W. CAYCE                                              TEL. 504-310-7700
 CLERK                                                   600 S. MAESTRI PLACE,
                                                                 Suite 115
                                                        NEW ORLEANS, LA 70130

                            March 24, 2025


 Ms. Karen S. Mitchell
 Northern District of Texas, Dallas
 United States District Court
 1100 Commerce Street
 Earle Cabell Federal Building
 Room 1452
 Dallas, TX 75242

       Nos. 23-10911, 23-10921    Highland Capital v. NexPoint Asset
                                  USDC No. 3:21-CV-881
                                  USDC No. 3:21-CV-880
                                  USDC No. 3:21-CV-1010
                                  USDC No. 3:21-CV-1378
                                  USDC No. 3:21-CV-1379
                                  USDC No. 3:21-CV-3160
                                  USDC No. 3:21-CV-3162
                                  USDC No. 3:21-CV-3179
                                  USDC No. 3:21-CV-3207
                                  USDC No. 3:22-CV-789


 Dear Ms. Mitchell,
 We have received the Supreme Court order denying certiorari.                We
 previously sent you the judgment issued as mandate.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk


                                 By: _________________________
                                 Rebecca L. Jeanfreau, Deputy Clerk
                                 504-310-7645
